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1                         UNITED STATES DISTRICT COURT

2                         EASTERN DISTRICT OF CALIFORNIA

3

4    UNITED STATES OF AMERICA,            No.    14-cr-00169-GEB
5                   Plaintiff,
6         v.                              ORDER ON BAIL PENDING APPEAL
7    JASVIR KAUR,
8                   Defendant.
9

10               Defendant Jasvir Kaur moves under Rule 46(c) of the

11   Federal Rules of Criminal Procedure for her continued release on

12   bail pending appeal.     The government opposes the motion.

13               Rule 46(c) prescribes:         “The provisions of 18 U.S.C.

14   § 3143(b)   govern   release   pending     sentencing   or   appeal.      The

15   burden of establishing that the defendant will not flee or pose a

16   danger to any member of the community rests with the defendant.”

17   Kaur argues her motion should be granted because under the “clear

18   and convincing evidence” standard she is

19               not likely to flee or pose a danger to the
                 safety of any other person or the community
20               if released under section 3142(b) or (c) of
                 [title 18]; and [her] . . . appeal is not for
21               the purpose of delay and raises a substantial
                 question of law or fact likely to result in
22               reversal.
23   Def’s Mot. 5, ECF No. 263 (quoting 18 U.S.C. § 3143(b)).

24               Kaur contends substantial questions are involved in her

25   appeal since she made a severance motion which argues should have

26   been granted because she and the co-defendant Ms. Harjit Johal

27   “were not charged in participation in the same acts” and because

28   the evidence was insufficient to support the verdict.                  Def.’s
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1    Mot. 7:11-13, 8:22–24, 9:6–8.

2                   Kaur argues she “was released on a $25,000 unsecured

3    appearance bond co-signed by her husband[;] was on unsupervised

4    release because of her lack of criminal history[; and, she is]

5    not . . . a flight risk.”                Mot. 6:9–10.                The record supports

6    Kaur’s contention that she is not likely to flee or pose a danger

7    to any person in the community if she is not incarcerated.

8                   Kaur    also     argues   her      appeal        concerns        the   following

9    substantial      questions        each   of       which    is      likely       to    result      in

10   reversal:       the court erred when it failed to grant her severance

11   motion,    the       evidence    is    insufficient           to    support       her      perjury

12   conviction, and the insufficient evidence exists to sustain the

13   perjury charge of conviction and its connection to the scope of

14   the Grand Jury’s investigation during which she was found to have

15   given perjured testimony.

16                  The     United     States      counters          that      defendants            were

17   properly       joined     for    trial     under        Federal        Rule      of       Criminal

18   Procedure 8(b) since they “participated in a common plan, scheme,

19   or conspiracy,” and that there was sufficient evidence to support

20   the verdict.          Opp’n 4:24-26, 5:28–6:3, 6:22–23, ECF No. 269.
21                  “[A]    ‘substantial      question’         is      one    that       is    ‘fairly

22   debatable,’      or     ‘fairly       doubtful.’        ‘In     short,      a    “substantial

23   question” is one of more substance than would be necessary to a

24   finding that it was not frivolous.’”                      United States v. Handy, 761

25   F.2d 1279, 1283 (9th Cir. 1985) (first quoting D’Aquino v. United

26   States, 180 F.2d 271, 272 (9th Cir. 1950); then quoting United
27   States    v.    Miller,       753 F.2d     19,     23     (3d      Cir.   1985);          and   then

28   quoting United States v. Giancola, 754 F.2d 898, 901 (11th Cir.
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1    1985)).

2                Kaur    has    not   shown       the   existence   of    substantial

3    questions    on    the    appellate   issues       involved    in   her   appeal.

4    Therefore, the motion is denied and the hearing on the motion

5    scheduled on August 25, 2017, is vacated.

6    Dated:    August 22, 2017

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